                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                              No. CR08-4045-MWB
 vs.                                           ORDER ACCEPTING MAGISTRATE
                                                    JUDGE’S REPORT AND
 ORLANDO ESCOBAR-
                                               RECOMMENDATION REGARDING
 QUINTANILLA,
                                                 DEFENDANT’S GUILTY PLEA
                Defendant.
                                 ____________________

                       I. INTRODUCTION AND BACKGROUND
         On May 29, 2008, a superseding indictment was returned against defendant Orlando
Escobar-Quintanilla, charging defendant with conspiring to distribute and posses with
intent to distribute 500 grams or more of methamphetamine containing 40 grams or more
of pure methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846,
distributing 224.71 grams of methamphetamine which contained 101.1195 grams of pure
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B), use of a
telephone to facilitate drug trafficking offenses, in violation of 21 U.S.C. § 843(b),
distributing and aiding and abetting the distribution of methamphetamine, in violation of
21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), use of a person under eighteen years of age to
assist in avoiding detection for a drug trafficking offense, in violation of 21 U.S.C.
§§ 861(a)(2) and 861(b), and 18 U.S.C. § 2, distributing 50 grams or more of pure
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A). On January
20, 2009, defendant appeared before Chief United States Magistrate Judge Paul A. Zoss
and entered a plea of guilty to Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 11, 12 and 13 of the




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superseding Indictment.      On this same date, Judge Zoss filed a Report and
Recommendation in which he recommends that defendant’s guilty plea be accepted. No
objections to Judge Zoss’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommendation to accept defendant’s
plea in this case.


                                     II. ANALYSIS
       The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any


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issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation of January 20, 2009, and accepts
defendant’s plea of guilty in this case to Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 11, 12 and 13 of
the superseding indictment.




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  IT IS SO ORDERED.
  DATED this 9th day of February, 2009.


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                                          MARK W. BENNETT
                                          U. S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA




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